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Exhibit C
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DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C. § 1746

. My name is Linda Bradshaw. I am over eighteen years of age and competent to
testify to the matters contained herein.

. [am aresident of Hancock County in Georgia and my residence address is 25
Maynard Jackson Cir., Sparta GA, 31087.

. [have resided at this address since 2007 and have not moved.

. [recently received a letter from the State of Georgia alerting me to the fact that I am
on a list of individuals slated to be removed frome the voting rolls.

. believe I last voted absentee in 2017 and do not know how I ended up on this list.
. Ido not understand why the State of Georgia wants to prevent me or other voters
from voting in future elections.

. I give this Declaration freely, without coercion, and without any expectation of
compensation or other reward.

I understand that in giving this Declaration, that I am not represented by a lawyer.
Nor has any lawyer asked me to be their client or to serve in anyway as anything
other than a witness in this litigation.

I declare under penalty of perjury that the foregoing is true and correct.

Further affiant sayeth not, this the ‘A day of December  , 2019.
. i oN ad me "Tar in ds\haw

Signature

